  Case 1:17-cv-00331-JTN-ESC ECF No. 29 filed 02/09/18 PageID.95 Page 1 of 1



                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


 CLEON BROWN,

        Plaintiff,
                                                                  Case No. 1:17-cv-331
 v.
                                                                  HON. JANET T. NEFF
 CITY OF HASTINGS, et al.,

        Defendants.
 ____________________________/


                                           ORDER

       The Court conducted a Status Conference with counsel on February 9, 2018. Consistent

with the discussion on the record,

       IT IS HEREBY ORDERED that the parties’ Stipulated Order Granting Leave for

Plaintiff to File a Second Amended Complaint (ECF No. 25) is GRANTED, and Plaintiff shall,

within 7 days of entry of this Order, file a Second Amended Complaint.

       IT IS FURTHER ORDERED that Defendants may, within 21 days of the filing of the

Second Amended Complaint, file a Pre-Motion Conference Request and proposed briefing

schedule. Plaintiff’s response to any Pre-Motion Conference Request shall be due within 7 days

of the filing of the Pre-Motion Conference Request.



Dated: February 9, 2018                                     /s/ Janet T. Neff
                                                          JANET T. NEFF
                                                          United States District Judge
